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                                                               UNITED STATES DISTRICT COURT
                                                                    DENVER, COLORADO
                                                                       2:54 pm, Sep 26, 2024

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